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                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF OHIO

                                      EASTERN DIVISION


UNITED STATES OF ANIIERICA,                      )CASE NO.
                                                   )
                              Plainti範         )JUDGE
                                                   )
                V.                       )
                                                   )

$27,000.001N U.S.CUЩ         NCY,              )
                                                   )
                              Dcfendant.        )
                                                   )COMPLAINT IN FORFEITU皿
       NOW COMES plaintitt the united States ofAmerica,by Justin E.Herdman,United

Statcs Attorlley for thc Northerll District of Ohio,and Hcllry F.DcBaggis,Assistant U.S.

Attomey,and flles this Complaillt in Forfeiture,respecti11ly alleging,in accordancc with

Supplcmental Rulc G(2)ofthe Fcdcral Rules of C市        il Procedure,as fo1lows:

                           JURISDICT10N AND INTRODUCT10N
        l.   This Court has suttect maierju五 sdiction ovcr an action commenced by thc

United Statcs under 28 1」 .S.Co Section 1345,and over an action lor forfeiture under 28 UoS.C.


Sectiol 1355(a).ThiS COurt also hasjurisdiction ovcr this particular action under 21 U.S.C.

Section 881(a)(6).

       2.    This Court has Jη   rθ   jurisdiction ovcr the defendant currency:(i)pllrsuant to 28

U.S.C.Section 1355(b)(1)(A)bccauSe acts g市 ing rise to thc forfeiture occurrcd in this district;

and,(ii)purSuantto 28 UoS.C.Scction 1355(b)(1)(B),incOrporating 28 U.S.C.Section 1395,
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because the action accrued in this        district. This Court will have control over the defendant

currency through service of an arrest warrant in rem, which the Federal Bureau of Investigation

(FBI) will execute upon the defendant currency. See, Supplemental Rules G(3Xb) and G(3)(c).

           3.      Venue is proper in this district: (i) pursuant to 28 U.S.C. Section 1355(bX1XA)

because acts giving rise to the forfeiture occurred in this district; and,    (ii) pursuant to 28 U.S.C.

    Section 1395 because the action accrued in this district.

           4.      On Octobe     r   23,2Ol9,the defendant $27,000.00 in U.S. Currency was seized from

Jermaine Woodson's bedroom at XXXX Marion Ave. SE, Massillon, Ohio. The seizure was

made by FBI special agents and local law enforcement officers pursuant to a search warrant

issued by the Stark County Common Pleas            Court. The defendant currency is now in the custody

of the federal government.

           5.      Subsequent to the seizure, the FBI commenced an administrative forfeiture

proceeding against the defendant currency. A claim to the defendant currency was submitted by

Jermaine Woodson in the administrative forfeiture proceeding, thereby requiring the filing of this

j   udicial forfeiture action.

           6.      The defendant $27,000.00 in U.S. Cunency is subject to forfeiture to the United

States under 21 U.S.C. Section 881(a)(6) in that        it constitutes proceeds from illegal drug

trafficking activities, and./or was used - or was intended to be used - in exchange for illegal

controlled substances, and/or was used - or was intended to be used - to facilitate illegal drug

trafficking activities.

                                             FORFEITURE
           7.      On October 23,2019,at approximatcly 7:20a.m.,FBI spccial agents and local

lan7 enforcemcnt offlcers executcd a search warrant at a rcsidence located at XXXXヽ           4arion




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Avenue SE, Massillon, Ohio. At the time of the search, Jerome Hall was the only individual

present at the residence.

        8.       During the search of the residence, law enforcement seized the following property

from Jermaine Woodson's bedroom:

                 a.        Smith & Wesson firearm with loaded magazine, Model # SW40V8, Serial
                           Number DWFI798 found under the bedroom mattress'

                 b.        Digital scale with box found on a bedroom shelf;

                 c.        Bag of green leaf and a container with a green leaf substance found on a
                           shoe shelf in the bedroom;

                 d.        Dymo digital scale found on a shoe shelf in the bedroom;

                 e.        MT duffle bag with scales, baggies and gloves found in the bedroom
                           closet; and

                 f.        $27,000.00 in U.S. Currency found in the bedroom clothes hamper.

        9.       On October 23,2019, Jermaine Woodson appeared at the FBI office in Canton,

Ohio and asked why his $27,000.00 in U.S. Currency was seized from the Marion Avenue

residence. Woodson said he did not reside at the residence and his belongings were only there

because he had an argument         with his girlfriend.

        10.      While at the FBI, Woodson said the $27,000.00 in U.S. Currency found in the

bedroom clothes hamper was his from selling cars. When Woodson was asked for proof of the

car sales, he said,   "l will   have to try and find some     receipts." Woodson was asked but could not

provide any details about the cars he sold. WOODSON then left the FBI.

        I   1.   Prior to the seizure, Jermaine Woodson pleaded guilty to felony possession of

cocaine in Stark County Common Pleas Case No. 1997CR1250 and on March 23,1998,he was

sentenced to prison for one (1) year.




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        12.     Prior to the seizure, Jermaine Woodson pleaded guilty to three counts    of

trafficking in cocaine, having a weapon while under disability and other criminal felony offenses

in Stark County Common Pleas Case No. 2008CR1040 and on September 4,2008, he was

sentenced to prison for five (5) years.

                                          CONCLUSION

        13.     By reason of the foregoing, the defendant $27,000.00 in U.S. Currency is subject

to forfeiture to the United States under 21 U.S.C. $ 881(aX6) in that it constitutes proceeds from

illegal drug trafficking activities, and/or was used - or was intended to be used - in exchange for

illegal controlled substances, and/or was used - or was intended to be used - to facilitate illegal

drug trafficking activities.

        WHEREFORE, plaintiff, the United States of America, requests that this Court enter

judgment condemning the defendant currency and forfeiting it to the United States, and

providing that the defendant currency be delivered into the custody of the United States for

disposition according to law, and for such other relief as this Court may deem proper.



                                                       Respectfully submitted,

                                                       Justin E. Herdman
                                                       United States Attorney
                                                       Northern District of Ohio


                                               By:    ('l              {H
                                                       Henry F. DeBaggis (OH: 0007561)
                                                       Assistant United States Attorney
                                                       Carl B. Stokes U.S. Court House
                                                       801 West Superior Avenue, Suite 400
                                                       Cleveland, Ohio 441l3
                                                       216.622.37 49 I F ax: 21 6.522.7 499
                                                       Henry.DeBaggis@usdoj. gov



                                                  4
           Case: 5:20-cv-00168 Doc #: 1 Filed: 01/24/20 5 of 5. PageID #: 5




                                          VERIFICAT10N

STATE OF OHIO                  )
                                )SS.
COUNTY OF CUYAHOGA)

       I,Herlry F.DeBaggis,llnder penalty ofpettury,dCpOse and say that l aln an Assistant

Unitcd States Attomey forthc Northem E)istrict of Ohio,and the attomey lor the plaintiffin the

within cntitlcd action. The foregoing Complaint in Forfciture is based upon infollllation

offlcially provided to lnc and,to lny knowlcdgc and bcliet iS true and corrcct.




                                                       ￨イ
                                                       Henry F. DeBaggis (OH: 0007561)
                                                       Assistant United States Attorney




        Swom to and subscribed in my presence this       24      day of Janu ary,2020.




                        DIANE SCHNE:DER
                          NOTARY PUBLIC
                          STATE OF OH10
                                                       Notary Public
                          COMM.EXPIRES
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                           RECORDED iN
                        CUYAHOGA COUNTY




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                                  Case: 5:20-cv-00168 Doc #: 1-1 Filed: 01/24/20 1 of 2. PageID #: 6
JS   {4    (Rev.02119)                                  CIVIL COVER SHEET
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I。
     (a)PLAINTIFFS                                                                                                               DEFENDANTS
United States of Ame              ca                                                                                           $27,000 00 U S Currency

     (b)COunty Of ReSdence ofFIst Lお               ted    Π nI∬                                                                 County of Residence of First Listed Defendant Stark                            County
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216‑622…'聞
         3749                                                                                                                  Cieve!and,Ohio 44113

Ⅱ.BASIS                                                       Ⅲ                                                   o CITIZENSHIP OF PRINCIPAL PARTIES″
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口 220 Foreclosure                        O   441 Voting                       0   463 Alien Detainee                        lncome Secuity Act                         or Defmdant)                            Acr
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                                              Cite the U.S. Civil Statute under which you are filing (Do not                         cile jurisdictional stodtt6   ual6s divenity)'.

VIo CAUSE OF ACTION
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VⅡ o REQUESTED IN                                  CHECK IF THISIS A CLASS ACT10N                                         DEヽ IAヽ DS                                          CllECK YES only if demanded in complaint
    COPIPLAINT:                                    UNDER RULE 23,F R CvP                                                                                                      JURY DEⅣ 眈 ND:               D Yes ONo
VⅡ I.RELATED CASE(S)
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     IF ANY                                                                   JUDGE                                                                                DOCKET NUMBER
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     RECEIPT#                         小 10UNT                                         想 PLYING IFP                                               JUDGE                                 MAG」 UDGE
                      Case: 5:20-cv-00168 Doc #: 1-1 Filed: 01/24/20 2 of 2. PageID #: 7

                                             UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF OHIO

L                Civil Categories: (Please check one cateoorv onlv)


                  1. A               GeneralCivil
                  2. Tl              Administrative Review/Social Security
                  3. []              Habeas Corpus Death Penalty
        .lf under Title 28,
                            S2255, name the SENTENCING JUDG E:

                                                      CASE NUMBER,
ll.     RELATED OR REFILED CASES. See LR 3. 1 which provides in pertinent part:      "lf an action isfiled orremoved tothisCourt
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attentlon of the Court by responding to the questions included on the Civil Cover Sheet "

        This   actionr!     is RELATED   to another PEND|NGcivil case       l-lis   a REFILED
                                                                                                ""r" T
                                                                                                             was PREvIoUsLY REMANDED

lfapplicable, please indicate on page'l in section Vlll, the name ofthe Judge and case number.

lll.   ln accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
       divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo ofllce. For the
       purpose of determining the proper division, and for statistical reasons, the following information is requested.

       ANSWER ONE PARAGRAPH ONLY, ANSWER PARAGRAPHS      l THRU 3IN ORDER UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

       (1)    Resident defendant. lf the defendant resides in a cou nty with in this d istrict, please set forth the n ame of such
       countv
       6sgiiry. Stark
       fu91rot' *," purpose of answering the above, a corporation is deemed to be a resident of thatcounty in which
       it has its principal place of business in that district.

       (2)       Non-Resident defendant. lf no defendant is a resident of a county in this district, please set forth the county
                 wherein the cause of action arose or the event complained of occurred.
       COUNTY:

       (3)       Other Cases. lf no defendant is a    res ident of this district, or if th e defendant is a corporation not having a principle
                 place of business within the district, and the cause of action arose or the event complained of occurred outside
                 this district, please set forth the county of the plaintiffs residence.
       COUNTY:

lV.    The Countjes in the Northern District of Ohioaredivided into divisions as shown below. After the county is
       determined in Section lll, please check the appropriate division.
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       WESTERN D:ViSiON

                  TOLEDO                      (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                               Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                               Vanwert, Williams, Wood and Wyandot)
         Case: 5:20-cv-00168 Doc #: 1-2 Filed: 01/24/20 1 of 1. PageID #: 8




                        IN THE UNITED STATES DISTRICT CttURT

                         FOR THE NORTHERN DISTRICT OF OHIO

                                     EASTERN DIVISION
UNITED STATES OF AMERICA,                        )CIVIL ACTION NO.
                                                 )
                      Plaintift                  ) JUDGE
                                                 )
               V.                                )

                                                 )
$27,000.001N U.S.CUttNCY,                        )

                                                 )
                      Defendant.                 )

                                                )

                                                ) PRAECIPE

       Please issue a Warrant of Arrest in Rem on the Defendant $27,000.00 in U.S. Currency to

the United States Marshals Service on behalf of the United States Attorney's Office.

                                             Respectfully submitted,

                                             Justin E. Herdman
                                             United States Attorne

                                     By:
                                           〔イ                           編
                                            Assistant United States Attornev
                                            801 West Superior Avcnue
                                             Suitc 400
                                            Clevcland,OH 44113… 1852
                                            Tel.(216)622‐ 3749
                                            Fax.(216)522¨ 7499
                                            Henry.DeBaggis@usd● .gOV
             Case: 5:20-cv-00168 Doc #: 1-3 Filed: 01/24/20 1 of 1. PageID #: 9




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                                     NORTHERN DISttRIC丁 OF OHIO
                                                                                     WARRANT OF
                                                                                    ARuST力 V RE″

TO:        UNITED STATES MARSHALS SERVICE,AND/OR ANY OTHER DULY AUTHORIZED
           LAW ENFORCEMENT OFFICER:
           WHEREAS,   on 01D4DA0                  a                Complaint in Forfeiture
was filed in this Court by Justin E. Herdman, United States Attorney for this District, on behalf of the United
States, against:

        $27,000.00 U.S. Currency (CATS ID# 20-FBI-000741)

         and WHEREAS, the defendant properties are currently in the possession, custody or control of the United
States; and,

         WHEREAS, Rule G(3)(b)(i) of the Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions directs the Clerk of the Court to issue a warrant of arrest in rem for the arrest of the defendant
properties; and,

         WHEREAS, Rule G(3)(c) of the Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions provides that the warrant of arrest in rem must be delivered to a person or organization
authorized to execute it;

        YOU ARE COMMANDED to arrest the defendant properties by serving a copy of this warrant on the
custodian in whose possession, custody or control the properties are presently found, and to use whatever means
may be appropriate to protect and maintain it in your custody until further order of this Court.

           YOU ARE FURTHER COMⅣ IANDED          to fllethe samein this Court with yourretum thereon.



                                                                UNITED STATES DlSTRICTJUDGE AT




                            BY)DEPUTY CLERK



                                     Returnable                 days after issue.

                                          United States Marshals Service
DISTRICT                                                      DATE RECEIVED                      DATE EXECUTED


PRINTED NANIE                                                  SIGNATURE
                              Case: 5:20-cv-00168 Doc #: 1-4 Filed: 01/24/20 1 of 1. PageID #: 10
   U.S. Department of Justice                                                               PROCESS RECEIPT AND RETURN

   PLAINTIFF                                                                                                               COURT CASE NUMBER
   United Statcs of AincHca

   DEFENDANT                                                                                                               TYPE OF PROCESS
   S27,000 00in U S Currency                                                                                              Warrant ofArrestin Rem
                      ｆぐｔ


                         NAME OFINDIVIDUAL,CONIPANY,CORPORAl10N ETC TO SERVE OR DESCRIP■ ON OF PROPERTY TO SEIZE OR CONDENIN
       SERVE             S27,000.00in U.S.Currency
           AT            ADDRESS cr α ο′RF2、 軽                    ″ Ⅳο,C,夕 Sra″ α″グZ/P Cο ′″
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   SEND NO■ CE OF SERVICE COPY TO REQUES‐ R AT NAME AND ADDRESS BELOW                                                  Number ofprocess to be
                                                                                                                       served with this Form

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                    Office of the United States Attorney                                                               served in this case
                    801 W. Superior Avenue, Suite 400 United States Courthouse
                    Cleveland, Ohio 44113                                                                              Check for service
                                                                                                                       on U.S.A.


       SPECIAL NSTRUC■        ONS OR OTHERINFORMA■                ON THAT WILL ASSISTIN EXPEDI]Π NG SERVICE rfacr.ィ              ′32s"′ ss aF′ ИI"rrara И ddttss‐     .



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        S27,00.00in U.S.Currency(20‑FBI‑000741).




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       SPACE BELOW FOR USE BY PROCESSING OFFICIAL ONLY¨                                                             DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total     Total Process     Distrlct of      District to        Signature ofAuthorized Agent or Other Agency Personnel       Date
   number of Drocess indicated.                              Origin           Serve

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   IherebycertifoandretumthatlE hur"personallyserved,E havelegalevidenceofservice,n hurtexecuted asshownin"Remark",theprocessdescribed
   on the individual , company, corporation, etc., at the address shown above on the on the Lndividual , company, corporation, etc, shown at the address inserted below

       E   t hereby certi$ and retum that I am unable to locate the individual, company, corporation, etc. named above    (See remarks below)

   Name and title of individual sened (if not shown above)
                                                                                                                             !    A person of suitable age and discretion
                                                                                                                                  then residing in defendant's usual place
                                                                                                                                  ofabode
                                                                                                                                                                          □□


       Address (complete only different than shown abore)                                                                     Date                  Timc



                                                                                                                              Signature



   Service Fee           Total Mileage Charges    Forwarding Fee           Total Charges         Advance Deposits     .\nrount oNed
                         including endeavors)                                                                         (.{mount of llefund*)



   REMARKS




   PRIOR EDITIONS
   MAY BE USED
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                          Dヾ   THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO

                                       EASTERN DIVISION

UNITED STATES OF AMERICA,                       ) CIVIL ACTION NO.
                                                  )
                         Plainti鶴                 ) JUDGE
                                                  )
                V.                                )

                                                  )

$27,000.001N U.S,CURRENCY,                        )

                                                  )
                         Defendant.               )NOTICE


Party-in-Interest:              Jermaine Woodson
                                c/o Mary Corrigan
                                1900 Terminal Tower
                                50 Public Square
                                Cleveland, Ohio 44113

         The above-captioned forfeiture action was filed in U.S. District Court on Jarruary 24,

2020.   A copy of the complaint is attached. If you claim an interest in the defendant property,

the following applies.

         Pursuant to Rule G of the Supplemental Rules for Admiralty or Maritime and Asset

Forfeiture Claims, you are required to file with the Court, and serve upon Henry F. DeBaggis,

plaintiff s attorney, whose address is United States Attorney's Office; United States Court House;

801 West Superior Avenue, Suite 400; Cleveland, Ohio 44113, a verified claim to the defendant

property within thirty-five (35) days after your receipt of the complaint. Said claim shall

contain the information required by Rule G(5) of the said Supplemental Rules. Additionally,

you must file and serve an answer to the complaint or a motion under Rule 12 of the Civil Rules
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of Procedure, within twenty (20) days after the filing of the claim, exclusive of the date of filing.

If you fail to do so, judgment by default will   be taken for the relief demanded in the complaint.

                                                 Respectfully submitted,

                                                 Justin E. Herdman
                                                 United States Attorney

                                       By:       t-/
                                                 Henry
                                                      Af'-*-
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